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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                               MIAMI DIVISION
                           CASE NO. 08-20670-CRIMINAL-LENARD
    3

    4   UNITED STATES OF AMERICA,                 Miami, Florida

    5                      Plaintiff,             October 6, 2008

    6               vs.                           4:07 p.m. to 4:56 p.m.

    7   GUSTAVO TAPIAS,

    8                  Defendant.          Pages 1 to 37
        ______________________________________________________________
    9

  10                                 CHANGE OF PLEA
                          BEFORE THE HONORABLE JOAN A. LENARD,
  11                          UNITED STATES DISTRICT JUDGE

  12

  13    APPEARANCES:

  14
        FOR THE GOVERNMENT:             MICHAEL SCOTT DAVIS, ESQ.
  15                                    ASSISTANT UNITED STATES ATTORNEY
                                        99 Northeast Fourth Street
  16                                    Miami, Florida 33132

  17
        FOR THE DEFENDANT:              WILLIAM ALEXANDER CLAY, ESQ.
  18                                    11440 North Kendall Drive
                                        Miami, Florida 33176
  19

  20    REPORTED BY:                    LISA EDWARDS, CRR, RMR
                                        Official Court Reporter
  21                                    400 North Miami Avenue
                                        Twelfth Floor
  22                                    Miami, Florida 33128

  23               THE COURT:     United States of America versus Gustavo

  24    Tapias, Case No. 08-20670.

  25               Counsel, state your appearances, please, for the
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    1   record.

    2               MR. DAVIS:    Good afternoon, your Honor.      Michael Davis

    3   for the United States.

    4               MR. CLAY:    Good afternoon, your Honor.      Bill Clay

    5   representing Gustavo Tapias.

    6               THE COURT:    Good afternoon, Mr. Clay.

    7               And he is here and using the aid of the

    8   Spanish-language interpreter.

    9               Are we now up and running?

  10                THE INTERPRETER:     Yes, your Honor.

  11                THE COURT:    You're hearing, Mr. Tapias, through your

  12    earphone?

  13                THE DEFENDANT:    Yes, your Honor.

  14                THE COURT:    We had some problems before; but I'm glad

  15    it's been straightened out.

  16                He is here for a change of plea.       Correct?

  17                MR. DAVIS:    Yes, your Honor.

  18                MR. CLAY:    Correct.

  19                THE COURT:    Is there a plea agreement?

  20                MR. DAVIS:    Yes.   May I approach?

  21                THE COURT:    Yes, please.

  22                You can be seated.

  23                Place him under oath, please.

  24                (Whereupon, the Defendant was duly sworn.)

  25                THE COURT:    Do you understand, sir, that you are now
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    1   under oath and if you answer any of my questions falsely, your

    2   answers may later be used against you in another prosecution

    3   for perjury or for making a false statement?

    4               THE DEFENDANT:    Yes.    I do understand.

    5               THE COURT:   What is your full name?

    6               THE DEFENDANT:    My full name is Gustavo Tapias Ospina.

    7               THE COURT:   Have you been known by any other name or

    8   names?

    9               THE DEFENDANT:    A nickname.

  10                THE COURT:   How about Techo?

  11                THE DEFENDANT:    Techo.

  12                THE COURT:   Okay.    What is your age?

  13                THE DEFENDANT:    58, your Honor.

  14                THE COURT:   Could you explain your education?        What

  15    was the last grade that you completed in school?

  16                THE DEFENDANT:    Your Honor, I'm an industrial

  17    engineer.

  18                THE COURT:   I'm sorry?

  19                THE DEFENDANT:    I'm an industrial engineer, your

  20    Honor.

  21                THE COURT:   Are you currently under the influence of

  22    any drug or medication or alcoholic beverage?

  23                THE DEFENDANT:    No.    I only take medication for

  24    thyroid and for back pain.

  25                THE COURT:   Within the last 24 hours, have you used
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    1   any drug, medication or alcoholic beverage, including the

    2   medication that you take for thyroid and back pain?

    3              THE DEFENDANT:     No, your Honor.

    4              THE COURT:    Have you recently been under the care of a

    5   doctor or a psychiatrist?

    6              THE DEFENDANT:     No, your Honor.

    7              THE COURT:    Have you recently been hospitalized for

    8   any reason, including the use of narcotics, medicine, drugs or

    9   alcohol?

  10               THE DEFENDANT:     No, your Honor.

  11               THE COURT:    The ability to understand the charge

  12    brought against you:      Has that ability been affected at any

  13    time by the use of any drug, medication or alcoholic beverage,

  14    including the medication that you take for thyroid and back

  15    pain?

  16               THE DEFENDANT:     No, your Honor.

  17               THE COURT:    The ability to understand the explanations

  18    and advice given to you by your lawyer:         Has that ability been

  19    affected at any time by the use of any drug, medication or

  20    alcoholic beverage, including the medication that you take for

  21    thyroid and back pain?

  22               THE DEFENDANT:     No, your Honor.

  23               THE COURT:    Have you read a copy of the information,

  24    which sets forth the written charge made against you in this

  25    case?
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    1              THE DEFENDANT:     Yes, your Honor.

    2              THE COURT:    Do you understand that you have the right

    3   to plead not guilty to any offense charged against you and to

    4   persist in that plea?

    5              THE DEFENDANT:     Yes, your Honor.

    6              THE COURT:    Do you understand that you would then have

    7   the right to a trial by jury in which you would be assisted by

    8   a lawyer in your defense and at which you would have the right

    9   to see and hear all of the witnesses who would testify against

  10    you and have them cross-examined in your defense?

  11               THE DEFENDANT:     Yes, your Honor.

  12               THE COURT:    Do you understand that at a trial the

  13    Government cannot force you to testify unless you voluntarily

  14    do so in your own defense?

  15               THE DEFENDANT:     Yes, your Honor.

  16               THE COURT:    Do you understand that, should you decide

  17    not to testify at trial or put on any evidence at trial, that

  18    these facts cannot be used against you at trial?

  19               THE DEFENDANT:     I understand, your Honor.

  20               THE COURT:    Do you understand that you would have the

  21    right to have subpoenas issued to witnesses to compel them to

  22    attend the trial and testify on your behalf?

  23               THE DEFENDANT:     I understand, your Honor.

  24               THE COURT:    Do you understand that the Government

  25    would have to prove beyond a reasonable doubt at trial the
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    1   essential elements of the offense charged against you?

    2              THE DEFENDANT:     I do understand, your Honor.

    3              THE COURT:    And do you also understand that all 12

    4   jurors must unanimously agree before a finding of guilty could

    5   be made?

    6              THE DEFENDANT:     I understand, your Honor.

    7              THE COURT:    Do you understand that if you were

    8   convicted at trial, you would have the right to appeal my

    9   rulings at trial and your conviction?

  10               THE DEFENDANT:     I understand, your Honor.

  11               THE COURT:    Do you further understand that if you

  12    enter a plea of guilty and if I accept your plea of guilty,

  13    there will be no trial and you will have waived or given up

  14    your right to a trial as well as the various rights associated

  15    with a trial that I've just described?

  16               THE DEFENDANT:     I understand, your Honor.

  17               THE COURT:    You are charged by information that

  18    beginning in or around 1995 and continuing through in or around

  19    2006, the exact dates being unknown, in Miami-Dade County, in

  20    the Southern District of Florida and elsewhere, the Defendant,

  21    Gustavo Tapias, also known as Techo, did knowingly and

  22    intentionally combine, conspire, confederate and agree with

  23    other persons known and unknown to the United States Attorney

  24    to import into the United States from a place outside thereof a

  25    controlled substance in violation of Title 21, United States
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    1   Code, Section 952(a), all in violation of Title 21, United

    2   States Code, Section 963.

    3              Pursuant to Title 21, United States Code, Section

    4   960(b)(1)(B), it is further alleged that this violation

    5   involved five kilograms or more of a mixture and substance

    6   containing a detectable amount of cocaine.

    7              Is he pleading to the forfeiture as well?          Yes?

    8              MR. CLAY:    Yes.

    9              THE COURT:    Upon conviction of the violation alleged

  10    in this information, the Defendant shall forfeit to the United

  11    States any property constituting or derived from any proceeds

  12    which the Defendant obtained directly or indirectly as a result

  13    of such violation and any property which the Defendant used or

  14    intended to be used in any manner or part to commit or

  15    facilitate the commission of such violation, all pursuant to

  16    Title 21, United States Code, Section 853.

  17               Would counsel for the Government make a representation

  18    concerning the facts the Government is prepared to prove at

  19    trial, please.

  20               MR. DAVIS:    Yes, your Honor.

  21               If this case were to go to trial, the Government would

  22    show that during the time period of this indictment, that is,

  23    1995 through 2006, this Defendant conspired with a number of

  24    significant Colombian narcotics traffickers, including members

  25    of what is known as Colombia's North Valley Cartel, to smuggle
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    1   multi-hundred kilo loads of cocaine into the United States.

    2              By the mid-1990s, the North Valley Cartel eclipsed

    3   what had been known as the Cali Cartel as Colombia's most

    4   significant -- well, Colombia's most prolific cocaine

    5   production and transportation cartel.

    6              The North Valley Cartel consists of a group of

    7   affiliated Colombian traffickers with various roles in the

    8   cocaine-trafficking world.       Some operate labs that produce

    9   cocaine.    Others are investors who purchase and control the

  10    cocaine once it is produced.       Others are transporters who

  11    arrange for and supervise routes for the cocaine to be smuggled

  12    out of Colombia and eventually into the United States.

  13               This structure of the North Valley Cartel was similar

  14    to the structure of other similar Colombian-based

  15    narcotics-trafficking organizations that the Defendant assisted

  16    and that might not have been considered part of the North

  17    Valley Cartel.

  18               The Government's evidence would show that during the

  19    course of the conspiracy charged in this case the Defendant

  20    played a particularly unique role in the Colombian

  21    narcotics-trafficking world.       Because of his contacts with both

  22    prominent traffickers and Colombian governmental officials,

  23    this Defendant was well respected among prominent Colombian

  24    traffickers.     Witnesses would testify that this Defendant

  25    assisted their cocaine-smuggling activities by acting as a
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    1   broker or a matchmaker, finding transporters to work with

    2   sources of supply of cocaine, and likewise by finding suppliers

    3   to serve as traffickers with transportation routes.

    4              The Defendant participated in a ring of prominent

    5   Colombian traffickers who from the mid-1990s through the

    6   remainder of the decade routinely smuggled large loads of

    7   cocaine from Colombian to Mexico, from where they were

    8   transshipped to destinations in the United States that included

    9   the Miami area.

  10               These traffickers included, among others, Gabriel

  11    Puerta-Parra and now-deceased trafficker Edgar Marroquin.            The

  12    Government would show through ledgers obtained in the course of

  13    this investigation that the Defendant would be paid from the

  14    proceeds of cocaine successfully trafficked through these

  15    operations.

  16               Loads smuggled through the Marroquin group would be

  17    settled, that is, delivered and stored for further

  18    transportation and distribution, in both the Miami and New York

  19    City areas.

  20               Although Marroquin was murdered in January 2001, the

  21    Government would show that the Defendant continued working with

  22    other traffickers to facilitate the smuggling of large loads of

  23    cocaine into the United States.

  24               In recent years, the Defendant's role in the Colombian

  25    narcotics-trafficking world evolved to include utilizing his
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    1    connections to assist traffickers by helping them to obtain

    2    information from law enforcement.

    3               The Government would present cooperating witness

    4    testimony to establish that up until at least 2006, the

    5    Defendant would use his contacts to corruptly extract

    6    information from law enforcement in Colombia on behalf of the

    7    North Valley Cartel and other significant Colombian traffickers

    8    to assist them in evading arrest and thus allowing them to

    9    continue in their narcotics-trafficking activities.          As a

   10    result of the Defendant's assistance, thousands of kilos of

   11    cocaine were successfully smuggled into the United States.

   12               As noted earlier, the Government also would show that

   13    other loads imported over the course of this conspiracy were

   14    distributed in Miami-Dade County.

   15               That's a proffer of the Government's evidence.

   16               THE COURT:    What is the amount of cocaine?

   17               MR. DAVIS:    Over -- thousands of kilos plus, your

   18    Honor.

   19               THE COURT:    Do you understand the charge against you,

   20    sir?

   21               THE DEFENDANT:    Yes, your Honor.     I understand.

   22               THE COURT:    Do you admit or not admit the facts as

   23    stated by the prosecutor?

   24               THE DEFENDANT:    Yes, your Honor.

   25               THE COURT:    Is what the prosecutor stated correct?
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    1               THE DEFENDANT:    Yes, your Honor.

    2               THE COURT:    Do you have any deletions or corrections?

    3               THE DEFENDANT:    No, your Honor.

    4               THE COURT:    How do you wish to plead to the

    5    information:    guilty or not guilty?

    6               THE DEFENDANT:    Guilty, your Honor.

    7               THE COURT:    Are you pleading guilty because you are

    8    guilty?

    9               THE DEFENDANT:    Yes, your Honor.

   10               THE COURT:    Do you understand that the mandatory

   11    minimum penalty of confinement provided by law for the offense

   12    to which you plead guilty is ten years' imprisonment?

   13               THE DEFENDANT:    Yes.   I understand, your Honor.

   14               THE COURT:    And do you also understand that the

   15    maximum possible penalty of confinement provided by law for the

   16    offense to which you plead guilty is up to life imprisonment?

   17               THE DEFENDANT:    Yes.   I understand, your Honor.

   18               THE COURT:    In addition, following a term of

   19    imprisonment exceeding one year, the Court must impose a term

   20    of supervised release.      Such term of supervised release shall

   21    commence upon release from imprisonment.

   22               The minimum amount of time in supervised release in

   23    this matter is five years and the maximum amount of time in

   24    supervised release is up to life in supervised release.

   25               Do you understand that as well?
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    1               THE DEFENDANT:    Yes, your Honor.

    2               THE COURT:    Do you understand that if you violate the

    3    conditions of supervised release, you can be given additional

    4    time in prison?

    5               THE DEFENDANT:    Yes, your Honor.

    6               THE COURT:    The maximum fine that may be imposed

    7    against you in this offense is up to $4 million.          The Court may

    8    sentence you to serve a sentence of confinement and also assess

    9    a fine against you.

   10               Do you understand that as well?

   11               THE DEFENDANT:    Yes, your Honor.

   12               THE COURT:    In addition to the penalties of

   13    confinement and fines, you may be ordered to make restitution;

   14    and you will be required to pay a special assessment of $100.

   15               Do you understand that as well?

   16               THE DEFENDANT:    Yes, your Honor.

   17               THE COURT:    Do you understand that the offense to

   18    which you plead guilty is a felony offense?

   19               THE DEFENDANT:    Yes, your Honor.

   20               THE COURT:    Do you understand that if your plea of

   21    guilty is accepted, you will be adjudicated guilty of that

   22    offense?

   23               THE DEFENDANT:    Yes, your Honor.

   24               THE COURT:    Mr. Clay, is he a United States citizen?

   25               MR. CLAY:    He is not, your Honor.
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    1               THE COURT:    Do you understand that if you are not a

    2    citizen of the United States, such adjudication may subject you

    3    to removal proceedings by the Bureau of Immigration and Customs

    4    Enforcement pursuant to United States law?

    5               THE DEFENDANT:    Yes, your Honor.

    6               THE COURT:    Do you understand that the provisions of

    7    the sentencing guidelines promulgated by the United States

    8    Sentencing Commission will advise the Court in this matter?

    9               THE DEFENDANT:    Yes, your Honor.

   10               THE COURT:    Have you and your attorney talked about

   11    how the sentencing guidelines might apply to your case?

   12               THE DEFENDANT:    Yes, your Honor.

   13               THE COURT:    Do you understand that the Court will not

   14    be able to determine the advisory guideline range for your

   15    sentence until after the advisory presentence investigation

   16    report has been completed and you and the Government have had

   17    the opportunity to challenge the reported facts and the

   18    application of the guidelines as recommended by the probation

   19    officer?

   20               THE DEFENDANT:    Yes.   I understand, your Honor.

   21               THE COURT:    Do you understand that the Court will

   22    consider all of the sentencing factors provided by law,

   23    including the sentencing guidelines?

   24               THE DEFENDANT:    Yes, your Honor.

   25               THE COURT:    Do you understand that after considering
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    1    all of these factors, the Court will impose a sentence it finds

    2    appropriate, given the statutory minimum and statutory maximum?

    3               THE DEFENDANT:    Yes, your Honor.

    4               THE COURT:    Do you understand that the sentence

    5    imposed may be different from any estimate your attorney may

    6    have given you?

    7               THE DEFENDANT:    Yes, your Honor.

    8               THE COURT:    Do you understand that parole has been

    9    abolished and that if you are sentenced to prison you will not

   10    be released on parole?

   11               THE DEFENDANT:    Yes, your Honor.

   12               THE COURT:    Do you understand that under some

   13    circumstances, you or the Government may have the right to

   14    appeal any sentence that I impose?

   15               THE DEFENDANT:    Yes, your Honor.

   16               THE COURT:    Is your plea of guilty being made freely

   17    and voluntarily?

   18               THE DEFENDANT:    Yes, your Honor.

   19               THE COURT:    Has anyone forced or threatened you or

   20    coerced you to plead guilty?

   21               THE DEFENDANT:    No, your Honor.

   22               THE COURT:    Has anyone made any representations to you

   23    to convince you to plead guilty other than the representations

   24    that were made to you in the plea agreement?

   25               THE DEFENDANT:    No, your Honor.
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    1               THE COURT:    Are you satisfied with your attorney?

    2               THE DEFENDANT:    Yes, your Honor.

    3               THE COURT:    Have you had adequate time to fully confer

    4    with your attorney and he with you about this charge, these

    5    proceedings, and all matters relating to this charge?

    6               THE DEFENDANT:    Yes, your Honor.

    7               THE COURT:    Turning now to the plea agreement, you

    8    agree to plead guilty to the information in this case, which

    9    charges you with conspiring to import into the United States

   10    five or more kilograms of cocaine in violation of Title 21,

   11    United States Code, Sections 963 and 952(a), all in violation

   12    of Title 21, United States Code, Sections 963 and 960(b)(1)(B).

   13               You are aware that sentence will be imposed in

   14    conformity with the sentencing guidelines and that the

   15    applicable guidelines will be determined by the Court relying

   16    in part on the results of a presentence investigation by the

   17    probation office and that this investigation will begin after

   18    your guilty plea has been entered.

   19               You are also aware that under certain circumstances,

   20    the Court may depart from the applicable guideline range and

   21    impose a sentence this is either more severe or less severe

   22    than the guideline range.

   23               Knowing these facts, you understand and acknowledge

   24    that the Court has the authority to impose any sentence within

   25    and up to the statutory maximum authorized by law, and you may
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    1    not withdraw your plea solely as a result of the sentence

    2    imposed.

    3               You agree that your offense and conviction involved

    4    150 kilograms or more of cocaine.       Accordingly, you understand

    5    and acknowledge that under the sentencing provisions of Title

    6    21, United States Code, Section 960(b)(1)(B), the Court must

    7    impose a statutory minimum term of imprisonment of at least ten

    8    years and may impose a statutory maximum term of imprisonment

    9    of up to life.

   10               You further understand and acknowledge that this term

   11    of imprisonment will be followed by a term of supervised

   12    release between a minimum of five years up to life.

   13               In addition, the Court may impose a fine of up to

   14    $4 million; and a special assessment in the amount of $100 will

   15    be imposed on you.     You agree that any special assessment

   16    imposed shall be paid at the time of sentencing.

   17               The Government reserves the right to inform the Court

   18    and the probation office of all facts pertinent to the

   19    sentencing process, including all relevant information

   20    concerning the offenses committed, whether charged or not, as

   21    well as concerning you and your background.

   22               Subject only to the express terms of any agreed-upon

   23    sentencing recommendations contained in this agreement, the

   24    Government further reserves the right to make any

   25    recommendation as to the quality and quantity of punishment.
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    1                You and Government agree that, although not binding on

    2    the probation office or the Court, you will jointly recommend

    3    that the Court impose a sentence within the advisory guideline

    4    range produced by application of the sentencing guidelines.

    5                The Government agrees it will recommend at sentencing

    6    that the Court reduce by two levels the sentencing guideline

    7    level applicable to your offense under Section 3E1.1(a) of the

    8    guidelines based upon your recognition and affirmative and

    9    timely acceptance of personal responsibility.

   10                If your offense level equals a level 16 or greater,

   11    the Government agrees it will recommend that the Court reduce

   12    your offense level an additional one level under

   13    Section 3E1.1(b) of the guidelines, based upon your timely

   14    notification of your intent to plead guilty.

   15                However, the Government will not be required to make

   16    these sentencing recommendations if you fail or refuse to make

   17    a full, accurate and complete disclosure to the probation

   18    office of the circumstances surrounding the relevant offense

   19    conduct, if it is found that you have misrepresented facts to

   20    the Government prior to entering this plea agreement or if you

   21    commit any misconduct after entering into this plea agreement,

   22    including but not limited to, committing a state or federal

   23    offense, violating any term of release or making false

   24    statements or misrepresentations to any governmental entity or

   25    official.
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    1               Although not binding on the probation office or the

    2    Court, you and the Government will jointly recommend that the

    3    Court make the following findings and concludes as to the

    4    sentence to be imposed:      Section 2D1.1 of the guidelines is the

    5    offense guideline applicable to the offense of conviction in

    6    this case.    Pursuant to Section 2D1.1(a)(3) and the

    7    incorporated Drug Quantity Table, your offense conduct involved

    8    150 kilograms or more of cocaine.       No additional specific

    9    offense characteristics pursuant to Chapter 2 of the guidelines

   10    are applicable to your offense conduct.

   11               You and Government agree that, although not binding on

   12    the probation office or the Court, you will jointly recommend

   13    that the Court find that you qualify for a two-level reduction

   14    in your offense level for Count 1 under Sections 2D1.1(b)(7)

   15    and 5C1.2 of the guidelines, provided that you are not found to

   16    have more than one criminal history point as determined under

   17    the guidelines, provided that not later than the time of the

   18    sentencing hearing you provide to the Government a written

   19    statement truthfully setting forth all information and evidence

   20    that you have concerning the offense or offenses that were part

   21    of the same course of conduct or of a common scheme or plan as

   22    charged in the indictment, and provided that you are not found

   23    to have used violence or threats of violence or to have

   24    possessed a firearm or other dangerous weapon in connection

   25    with the offense, that the offense did not result in death or
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    1    serious bodily injury to any person and that you are not found

    2    to have been an organizer, leader, manager or supervisor of

    3    others in the offense.

    4               Pursuant to 5C1.2(b) of the guidelines, your offense

    5    level resulting from the application of Chapters 2 and 3 of the

    6    guidelines is at least a level 17.

    7               Although not binding on the probation office or the

    8    Court, the Government agrees it will not recommend any upward

    9    departures from the advisory guideline range; and you agree

   10    that you will not recommend any downward departures from the

   11    advisory guideline range.

   12               Nothing in this paragraph precludes the Government

   13    from moving for and the Court from granting a motion for

   14    downward departure under 5K 1.1 of the guidelines or a Rule 35

   15    motion under the Federal Rules of Criminal Procedure subject to

   16    the provisions of this agreement.

   17               The Government agrees it will not file a second

   18    offender enhancement under Title 21, United States Code,

   19    Section 851.

   20               You agree that you shall cooperate fully with the

   21    Government by providing truthful and complete information and

   22    testimony and producing documents, records and other evidence

   23    when called upon by the Government, whether in interviews

   24    before a grand jury or at any trial or other court proceeding,

   25    by appearing at such grand jury proceedings, hearings, trials
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    1    and other judicial proceedings and at meetings as may be

    2    required by the Government and, if requested by the Government,

    3    working in an undercover role to contact and negotiate with

    4    others suspected and believed to be involved in criminal

    5    misconduct under the supervision of and in compliance with law

    6    enforcement officers and agents.

    7               The Government reserves the right to evaluate the

    8    nature and extent of your cooperation and to make your

    9    cooperation or lack thereof known to the Court at the time of

   10    sentencing.

   11               If in the sole and unreviewable judgment of the

   12    Government your cooperation is of such quality and significance

   13    to the investigation or prosecution of other criminal matters

   14    as to warrant the Court's downward departure from the advisory

   15    sentence calculated under the guidelines, the Government may at

   16    or before sentencing make a motion consistent with the intent

   17    of Section 5K1.1 of the guidelines prior to sentencing or Rule

   18    35 of the Federal Rules of Criminal Procedure subsequent to

   19    sentencing reflecting that you have provided substantial

   20    assistance and recommending that your sentence be reduced from

   21    the advisory sentence suggested by the guidelines.

   22               You acknowledge and agree, however, that nothing in

   23    this agreement may be construed to require the Government to

   24    file such a motion; and it is the Government's assessment of

   25    the nature, value, truthfulness, completeness and accuracy of
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    1    your cooperation that shall be binding insofar as the

    2    appropriateness of the Government's filing of any such motion

    3    is concerned.

    4               You understand and acknowledge that the Court is under

    5    no obligation to grant a Government motion for sentence

    6    reduction as a result of substantial assistance should the

    7    Government exercise its discretion and file such a motion.             You

    8    understand and acknowledge that the Court is under no

    9    obligation to reduce your sentence because of your cooperation.

   10               You agree that you will not seek release on bond at

   11    any time during the course of this case or any appeal.           You

   12    also agree that you shall assist the Government in all

   13    proceedings, whether administrative or judicial, involving the

   14    forfeiture to the United States or a third country, if

   15    requested by the United States, of all rights, title and

   16    interest regardless of their nature or form and all assets,

   17    including real and personal property, cash and other monetary

   18    instruments, including all United States currency that you

   19    possessed, transferred or retained in connection with your

   20    offense of conviction, wherever located, which you or others to

   21    your knowledge have accumulated as a result of illegal

   22    activities.

   23               Such assistance will involve an agreement on your part

   24    to the entry of an order enjoining the transfer or encumbrance

   25    of assets which may be identified as being subject to
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    1    forfeiture.

    2               Additionally, you agree to fully assist the United

    3    States in identifying and locating all assets that you or

    4    others to your knowledge have accumulated as a result of

    5    illegal activities.

    6               You further agree to fully assist the United States in

    7    the transfer and forfeiture of such property to the United

    8    States or a third country, if requested by the United States,

    9    including by delivery to the Government upon the Government's

   10    request of all necessary and appropriate documentation with

   11    respect to said assets, including consents to forfeiture,

   12    quitclaim deeds and any and all other documents necessary to

   13    deliver good and marketable title to said property.

   14               You knowingly and voluntarily waive any time or notice

   15    requirements in any forfeiture proceeding involving this

   16    property and agree not to file a claim in that forfeiture

   17    proceeding.

   18               You further knowingly and voluntarily waive any

   19    jeopardy defense or any claim of double jeopardy, whether

   20    constitutional or statutory, and agree to waive any claim or

   21    defense under the Eighth Amendment to the United States

   22    Constitution, including any claim of excessive fines.

   23               You understand and agree that the forfeiture of your

   24    assets shall not be treated as satisfaction of any fine

   25    restitution, cost of imprisonment or any other penalty the
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    1    Court may impose upon you.

    2               In exchange for the undertakings made by the United

    3    States in this plea agreement, you waive all rights, whether

    4    asserted directly or by a representative, to request or receive

    5    from any department or agency of the United States any records

    6    pertaining to the investigation or prosecution of this case,

    7    including without limitation any records that may be sought

    8    under the Freedom of Information Act, Title 5, United States

    9    Code, Section 522, or the Privacy Act of 1974, 5 USC, Section

   10    522a.

   11               You are aware that Title 18, United States Code,

   12    Section 3742, affords you the right to appeal the sentence

   13    imposed in this case.

   14               Acknowledging this, in exchange for the undertakings

   15    made by the United States in this plea agreement, you waive all

   16    rights conferred by Title 18, United States Code, Section 3742,

   17    to appeal any sentence imposed, including any restitution

   18    order, or to appeal the manner in which sentence was imposed,

   19    unless the sentence exceeds the maximum permitted by statute or

   20    as a result of an upward departure or an upward variance from

   21    the guideline range the Court establishes at sentencing.

   22               You further understand that nothing in this agreement

   23    shall affect the Government's right and/or duty to appeal as

   24    set forth in Title 18, United States Code, 3742(b).          However,

   25    if the Government appeals your sentence under Section 3742(b),
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    1    you shall be released from your waiver of appellate rights.

    2               You understand that although you will be sentenced in

    3    conformity with the sentencing guidelines by this agreement,

    4    you waive the right to appeal the sentence on the basis that

    5    the sentence is the result of an incorrect application of the

    6    sentencing guidelines.

    7               You further waive any right to file any motion or make

    8    any claim, whether under Title 28, United States Code, Sections

    9    2255, 2254, 2241 or any other provision of law to collaterally

   10    attack your conviction, your sentence or the manner in which

   11    sentence was imposed unless the sentence exceeds the maximum

   12    permitted by statute.

   13               You confirm that you are guilty of the offense to

   14    which you are pleading guilty and that your decision to plead

   15    guilty is a decision that you have made and that nobody has

   16    forced, threatened or coerced you into pleading guilty.

   17               You affirm that you have discussed this matter

   18    thoroughly with your attorney.

   19               You further affirm that your discussions with your

   20    attorney have included discussions of possible defenses that

   21    you may raise even if the case -- if the case were to go to

   22    trial as well as possible issues and arguments that you may

   23    raise at sentencing.

   24               You additionally affirm that you are satisfied with

   25    the representation provided by your attorney.
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    1                You accordingly affirm that you are entering into this

    2    agreement knowingly, voluntarily and intelligently and with the

    3    benefit of full, complete and effective assistance by your

    4    attorney.

    5                You accordingly agree that by entering into this

    6    agreement, you waive any right to file any motion or make any

    7    claim, whether under Title 28, United States Code, Sections

    8    2255, 2254, 2241, or any other provision of law that contests

    9    the effectiveness of your counsel's representation up to the

   10    time of the entry of your guilty plea.

   11                You are aware that sentence has not yet been

   12    determined by the Court.      You are also aware that any estimate

   13    of the probable sentencing range or sentence that you may

   14    receive, whether that estimate comes from your attorney, the

   15    Government or the probation office, it is a prediction, not a

   16    promise, and is not binding on the Government, the probation

   17    office or the Court.

   18                You understand further that any recommendation that

   19    the Government makes to the Court as to sentencing, whether

   20    under this agreement or otherwise, it is not binding on the

   21    Court, and the Court may disregard the recommendation in its

   22    entirety.

   23                You understand and acknowledge that you may not

   24    withdraw your plea based upon the Court's decision not to

   25    accept a sentencing recommendation made by you, the Government
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    1    or a joint recommendation made by both you and the Government.

    2                This is the entire agreement and understanding between

    3    you and the United States.      There are no other agreements,

    4    promises, representations or understandings.

    5                Is this your signature on the agreement, sir?

    6                THE DEFENDANT:   Yes, your Honor.

    7                THE COURT:   Did you read the agreement before you

    8    signed it or was it read to you before you signed it?

    9                THE DEFENDANT:   Yes, your Honor.

   10                THE COURT:   Did you discuss fully the agreement with

   11    your attorney before you signed it?

   12                THE DEFENDANT:   Yes, your Honor.

   13                THE COURT:   Did you understand all the terms of the

   14    agreement before you signed it?

   15                THE DEFENDANT:   Yes, your Honor.

   16                THE COURT:   Do you understand that in Paragraph 19 on

   17    Page 8 that you are giving up your right to appeal your

   18    sentence?

   19                THE DEFENDANT:   Yes, your Honor.

   20                THE COURT:   And do you understand that in Paragraphs

   21    20 and 21 that you are giving up your right to collaterally

   22    attack your conviction, your sentence or the manner in which

   23    sentence was imposed or the effectiveness --

   24                THE DEFENDANT:   Yes, your Honor.

   25                THE COURT:   -- or the effectiveness of your counsel's
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    1    representation?

    2               THE DEFENDANT:    Yes, your Honor.

    3               THE COURT:    Are you entering into this waiver of your

    4    appellate rights and your collateral attack rights freely and

    5    voluntarily?

    6               THE DEFENDANT:    Yes, your Honor.

    7               THE COURT:    Have you fully discussed these waivers

    8    with your attorney?

    9               THE DEFENDANT:    Yes, your Honor.

   10               THE COURT:    The terms that I summarized to you:        Are

   11    those the terms of your plea agreement with the Government as

   12    you understand them?

   13               THE DEFENDANT:    Yes, your Honor.

   14               THE COURT:    Has anyone made any other or different

   15    promises or assurances to you in an effort to induce you to

   16    enter into this plea agreement and enter a plea of guilty in

   17    this case?

   18               THE DEFENDANT:    No, your Honor.

   19               THE COURT:    Has anyone threatened you or tried in any

   20    other way to force you to enter into this plea agreement and

   21    enter a plea of guilty in this case?

   22               THE DEFENDANT:    No, your Honor.

   23               THE COURT:    Do you understand that if I accept your

   24    plea of guilty and the sentence that I give you is more severe

   25    than you expected, you will still be bound by your plea
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    1    agreement, still be bound by your plea of guilty and you will

    2    have no right to withdraw them?

    3               THE DEFENDANT:    Yes, your Honor.

    4               THE COURT:    Mr. Clay, is this your signature on the

    5    agreement?

    6               MR. CLAY:    It is, your Honor.

    7               THE COURT:    And Mr. Davis, your signature as well?

    8               MR. DAVIS:    Yes, it is, your Honor.

    9               THE COURT:    Mr. Clay, are you satisfied that pleading

   10    guilty to the charge is in the best interest of your client,

   11    considering all the circumstances in this case?

   12               MR. CLAY:    I am absolutely satisfied.

   13               THE COURT:    And do you feel there would be sufficient

   14    evidence upon which to convict the Defendant of this charge?

   15               MR. CLAY:    Yes, your Honor.

   16               THE COURT:    Mr. Tapias, do you have any questions,

   17    sir, about the possible consequences of your plea of guilty?

   18               THE DEFENDANT:    No, your Honor.

   19               THE COURT:    Do you understand fully all of the

   20    possible consequences of your plea of guilty?

   21               THE DEFENDANT:    Yes, your Honor.

   22               THE COURT:    It is the finding of the Court in the case

   23    of the United States of America versus Gustavo Tapias that the

   24    Defendant has entered into a waiver of his appellate rights and

   25    his collateral attack rights knowingly, freely and voluntarily
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    1    after full consultation with his attorney and without coercion

    2    or duress.

    3                It is further the finding of the Court in the case of

    4    the United States of America versus Gustavo Tapias that the

    5    Defendant is fully competent and capable of entering an

    6    informed plea; that the Defendant is aware of the nature of the

    7    charge and the consequences of the plea; and that the plea of

    8    guilty is a knowing and voluntary plea supported by an

    9    independent basis in fact containing each of the essential

   10    elements of the offense.

   11                The plea is therefore accepted, and the Defendant is

   12    now adjudicated guilty of the information.

   13                A written advisory presentence investigation report

   14    will now be prepared by the probation office to assist the

   15    Court in sentencing.     You will be asked, sir, to give

   16    information for the report; and your attorney may be present if

   17    you wish.

   18                The Court shall permit the Defendant and counsel to

   19    read the advisory presentence investigation report, file any

   20    objections to the report before the sentencing hearing.

   21                The Defendant and his counsel shall be afforded the

   22    opportunity to speak on behalf of the Defendant at the

   23    sentencing hearing.

   24                At this time, I'm going to refer the Defendant to the

   25    probation office for an advisory presentence investigation
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    1    report.   He's to be remanded to the Bureau of Prisons pending a

    2    sentencing date and time which Patricia will give to us now.

    3               MR. CLAY:    Your Honor, may I be heard side-bar on the

    4    issue of a sentencing date?

    5               THE COURT:    Sure.   Come on up.

    6               (Whereupon, the following proceedings were had at

    7    side-bar:)

    8               MR. CLAY:    Bill Clay representing Gustavo Tapias.

    9               I would ask and move that this portion of the guilty

   10    plea hearing be maintained under seal.

   11               THE COURT:    The side-bar?

   12               MR. CLAY:    Yes.

   13               MR. DAVIS:    No objection.

   14               THE COURT:    Okay.

   15               MR. CLAY:    My client, your Honor --

   16               THE COURT:    It's granted.

   17               MR. CLAY:    My client, your Honor, has been cooperating

   18    for in excess of three years.       I've been involved in

   19    representing him for about two and a half years or a little

   20    longer than that.

   21               He in fact voluntarily surrendered and was flown into

   22    the country on a DEA plane.

   23               He's done some pretty extraordinary things in the

   24    course of this pre-self-surrender cooperation, including the

   25    recording of an extremely high-level Colombian police official
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    1    who will be indicted, I believe, in the future.

    2                My client is a person of education.       He's a person who

    3    has operated appropriately, as well as inappropriately and

    4    illegally, in the Colombian political world.         He's a respected

    5    person by both legitimate people and illegitimate people.

    6                Two agents have debriefed him to access the underworld

    7    and the over-world of Colombia, meaning that higher echelon of

    8    good public officials and businesspeople, et cetera, as well as

    9    people who are connected to the cartels, as the Government's

   10    factual basis proffer reflected.

   11                We are currently, I think, very close to bringing in a

   12    fugitive as a result of my client's communication with this

   13    fugitive.    The fugitive is one of these individuals that has a

   14    $5 million reward from the State Department on his head.           That

   15    person has been wanted for over six and a half years.           It's an

   16    FBI -- actually, two FBI-made indictments, one in this

   17    district, one in the District of New Jersey in Newark.

   18                In the past, that fugitive has essentially played

   19    games with the US Government.       As a result of Mr. Tapias, he is

   20    persuading this fugitive to come forward.         I think that will

   21    happen.

   22                Another thing that we're embarking upon presently

   23    based on Mr. Tapias's cooperation is proving and exposing

   24    criminal activity in Venezuela involving Hezbollah.          My client

   25    has business -- legitimate business connections in Venezuela.
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    1    He knows Venezuelan government officials.         I know this is

    2    timely, given the other trial you're in, so you'll find this

    3    all very, very understandable and believable.

    4               My client knows the chief intelligence individual that

    5    Chavez uses to communicate with the FARC.         That person is

    6    basically the top intel advisor of Chavez.         My client knows

    7    anti-Chavez officials who are cooperating with him and may in

    8    fact even agree to certain roles with the US Government.

    9               In conjunction with these relationships, he has

   10    learned of several Hezbollah-related individuals who committed

   11    a whole host of crimes, including drug trafficking and money

   12    laundering.    And Hezbollah-related drug traffickers remit,

   13    according to the literature, US agency literature, 60 to 70

   14    percent of the drug proceeds back to Hezbollah.          So they are

   15    real idealogical believers in that fanatic stream of Islamic

   16    belief and that terrorism.

   17               In this case, I've been traveling to Colombia several

   18    times a month for about three and a half years.          It's tough to

   19    get some of these bigger projects done.

   20               I am looking for my client to be able to earn a 5K1.1

   21    motion from the Government.

   22               THE COURT:    It sounds like he has a wealth of

   23    information.

   24               MR. CLAY:    He does; and he's performing.

   25               But what I'm asking the Court to do is to set a
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    1    February or March date to give us -- my client and I and the

    2    agents handling this the time to get some of these other very

    3    important projects completed.       I have really just scratched the

    4    surface for you.     There's so much more than this.

    5                THE COURT:    I think I'm setting in November.

    6                When am I setting now?       November or December?

    7                THE COURTROOM DEPUTY:     December.

    8                THE COURT:    So what's your position?

    9                MR. DAVIS:    We yield to the Court's discretion on the

   10    sentencing date, your Honor.

   11                THE COURT:    I'll give you a February date.      That's

   12    fine.

   13                MR. CLAY:    Thank you, your Honor.

   14                THE COURT:    Now, I can tell you this, that I'm

   15    probably going to want to go forward in February unless you

   16    give me some extenuating circumstances that we should not go

   17    forward with sentencing, because you can always come back for a

   18    Rule 35.

   19                I'll consider whatever you want to bring before me,

   20    Mr. Clay.    But at some point -- I don't like to carry these

   21    things --

   22                MR. CLAY:    I understand.

   23                THE COURT:    -- for months and years while someone's

   24    cooperating when we can deal with it after sentence is imposed

   25    as easily as we can deal with it prior to sentence.          But I'll
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    1    give you February.

    2               MR. CLAY:    Thank you.    I appreciate it.

    3               MR. DAVIS:    Your Honor, before we break the side-bar,

    4    just to be careful and to be clear, while I trust that Mr. Clay

    5    is relating this information that his client -- that he

    6    believes his client is in good faith, what his client can or

    7    can't do has not been independently verified by the Government.

    8               THE COURT:    Right.   I'm not making any ruling or any

    9    consideration on anything that he said for purposes of any 5K1.

   10    That'll be the Government's decision as to how to proceed.

   11               MR. DAVIS:    In the event this is unsealed at some

   12    later time, I just want it to be made perfectly clear that what

   13    Mr. Clay is relating is his belief about what his client can do

   14    to assist the United States.       It's not been independently

   15    verified by the United States.

   16               THE COURT:    Okay.

   17               MR. DAVIS:    The United States certainly cannot vouch

   18    for the overall accuracy of what Mr. Clay --

   19               THE COURT:    That's why I say I'll give you till

   20    February; and then I'm going to want to go forward in

   21    sentencing.    The Government can make their decision as to

   22    whether they want to go forward on that day or not go forward

   23    or go forward at a later time on a Rule 35.

   24               If either side thinks there's a reason to continue the

   25    sentencing, make your motion, and I'll consider it at that
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    1    time.   But I will tell you that I had one case a couple years

    2    ago where I was carrying it for a year.        I really don't like to

    3    do that.   There's no reason to do that.       There is an available

    4    avenue through a Rule 35.      I won't say anything about the

    5    limitations, because it never seems to -- there really are no

    6    limitations if the parties agree that there are no limitations.

    7    There is an avenue and there's a way to proceed.

    8               But I'll give you the opportunity.        I don't mind

    9    waiting a little bit.      But at some point, I'm going to want to

   10    go forward.

   11               MR. CLAY:    Thank you, your Honor.

   12               I certainly agree with Mr. Davis's comments, but I

   13    don't do anything in any case without really having a strong

   14    good-faith basis.      In this one, my client's past performance is

   15    probably the best indicator of the future possibility.

   16               Unlike the stock market --

   17               THE COURT:    It sounds like you both have your work cut

   18    out for you.

   19               MR. CLAY:    We have a lot of good work cut out.         But I

   20    appreciate your giving me time.

   21               THE COURT:    No problem.

   22               MR. DAVIS:    Thank you.

   23               (Whereupon, the following proceedings were had in open

   24    court:)

   25               THE COURT:    Could I have a sentencing date, please.
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    1               THE COURTROOM DEPUTY:      February 9 at 2:00 p.m.

    2               THE COURT:    February 9 at 2:00 p.m.

    3               Anything further in this case?

    4               MR. CLAY:    Nothing from the defense your Honor.

    5               MR. DAVIS:    Just very briefly, your Honor, I want to

    6    clarify one thing that I said in shorthand.

    7               When the Court asked me how much -- what was the

    8    quantity of narcotics involved in the case, I said shorthand

    9    over a -- or a thousand kilos plus, were the words that I used.

   10    And I meant to convey, as I believe the Defendant understands,

   11    in excess of a thousand kilos.

   12               THE COURT:    That's the way I took what you said.

   13               Was there any dispute as to that, Mr. Clay?

   14               MR. CLAY:    No, your Honor.    That's the way I heard it

   15    and understood it.      So we're on the same page.

   16               THE COURT:    Thank you so much.     We're in recess.     Nice

   17    to see you both.

   18               (Proceedings concluded.)

   19

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    1
                                 C E R T I F I C A T E
    2

    3                I hereby certify that the foregoing is an

    4    accurate transcription of the proceedings in the

    5    above-entitled matter.

    6

    7
         ____________           /s/Lisa Edwards
    8        DATE               LISA EDWARDS, CRR, RMR
                                Official United States Court Reporter
    9                           400 North Miami Avenue, Twelfth Floor
                                Miami, Florida 33128
   10                           (305) 523-5499

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